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		OSCN Found Document:RE SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS

					

				
  



				
					
					
						
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				RE SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2018 OK 20Decided: 03/12/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 20, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 



RE: Suspension of Certificates of Certified Shorthand Reporters




ORDER


The Oklahoma Board of Examiners of Certified Shorthand Reporters has recommended to the Supreme Court of the State of Oklahoma the suspension of the certificate of each of the Oklahoma Certified Shorthand Court Reporters listed on the attached Exhibit for failure to comply with the continuing education requirements for calendar year 2017 and/or with the annual certificate renewal requirements for 2018.

Pursuant to 20 O.S., Chapter 20, App. 1, Rule 20(c), failure to satisfy the annual renewal requirements on or before February 15 shall result in administrative suspension on that date. Pursuant to 20 O.S., Chapter 20, App. 1, Rule 23(d), failure to satisfy the continuing education reporting requirements on or before February 15 shall result in administrative suspension on that date.

IT IS THEREFORE ORDERED that the certificate of each of the court reporters named on the attached Exhibit is hereby suspended effective February 15, 2018.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 12th day of MARCH, 2018.


/S/CHIEF JUSTICE



Combs, C.J., Gurich, V.C.J., Kauger, Winchester, Edmondson, Colbert, Reif and Wyrick, JJ., concur.



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			Name
			
			
			CSR #
			
			
			Exhibit
			
		
		
			
			Lori Byrd
			
			
			1981
			
			
			Continuing Education &amp; Renewal Fee
			
		
		
			
			Tara Dale
			
			
			1409
			
			
			Continuing Education &amp; Renewal Fee
			
		
		
			
			Kristina Greene
			
			
			1377
			
			
			Continuing Education &amp; Renewal Fee
			
		
		
			
			Holly Hurley
			
			
			1765
			
			
			Continuing Education &amp; Renewal Fee
			
		
	






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